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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

NATHANIEL CLARK,                              )
                                              )
         Plaintiff,                           )     CIVIL ACTION FILE NO.:
                                              )     1:22-CV-02748-CAP-RDC
v.                                            )
                                              )
CITY OF FOREST PARK, GA;                      )
LATRESA AKINS-WELLS, in her                   )
individual capacity                           )
                                              )
         Defendants.                          )

                         STIPULATION OF DISMISSAL

         COME NOW, the Plaintiff and the Defendants herein, and, pursuant to the

provisions of Federal Rule of Civil Procedure 41(a)(1)(ii), hereby dismiss the

above-styled civil action WITH PREJUDICE. Each party to pay its own fees and

costs.

         Respectfully submitted this 27th day of December, 2022.




                            [Signatures on following page]
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WE CONSENT AND SO STIPULATE:


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